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IN THE UNITED sTATEs DISTRICT coURT F"'ED BY ~- D.C.
FoR THE wEs'I'ERN DISTRICT oF TENNESSEE 05
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JA.NICE P. WILLIA.MS-COOK, “ “" '1..»..
et al.,
Plaintiffs,
vs. Civ. No. 03-2147-B[P

NORTHWEST AIRLINES, INC.,
et al.,

Defendants.

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ORDER GRANTING IN PART DEFENDANTS' MOTION TO ORDER MEDIATION AND
TO DECLARE SEQUENCE OF DISCOVERY DEPOSITIONS FOR DETERMINATION AT
SCHEDULING CONFERENCE

 

Before the court is defendants' Motion to Order Mediation and
to Declare Sequence of Discovery Depositions for Determination at
Scbeduling Conference, filed July 13, 2005 (dkt #55). On July 28,
2005, the court held a scheduling conference to address the motion.
Counsel for all parties were heard. Tbe court GRANTED in part the
motion as follows:

l. The parties, by agreement, are directed to engage in
mediation on August 25, 2005.

2. Plaintiffs will be permitted to depose witnesses Surusa
Kumar, Katherine Womack, and James Mitchum prior to August 25.

However, if the plaintiffs are unable to subpoena these witnesses

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or otherwise complete the depositions before August 25, the
mediation shall nevertheless proceed as scheduled.

3. Defendants may depose the plaintiffs after August 25, and
before the plaintiffs depose Jeremy' Anderson. The Anderson
deposition shall be taken the day after the plaintiffs' depositions
are completed, or as soon thereafter as reasonably possible.

4. The deposition of the plaintiffs' treating psychiatrist

shall not be taken until after November 18, 2005.

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TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:03-CV-02147 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

